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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  MARSHALL DIVISION


LBS INNOVATIONS LLC,

                Plaintiff,
                                                        Civil Action No. 2:11-cv-407-DF
       v.
                                                             Jury Trial Demanded
BP AMERICA INC., et al.,

                Defendants.


                       PLAINTIFF’S FIRST AMENDED COMPLAINT
                            FOR PATENT INFRINGEMENT

       Plaintiff LBS Innovations, LLC files this First Amended Complaint against BP America

Inc.; ConocoPhillips d/b/a ConocoPhillips Inc.; Choice Hotels International, Inc.; Costco

Wholesale Corporation; Hyatt Corporation; KeyCorp; KeyCorp Finance Inc.; Marriott

International, Inc.; McDonald’s Corporation; Aldi Inc.; Bank of America Corporation; JP

Morgan Chase & Co.; Giant Eagle, Inc.; H.E.B., Inc.; The Kroger Co.; Starbucks Corporation

d/b/a Starbucks Coffee Co.; Target Corporation; U.S. Bancorp; Visa Inc.; Wal-Mart Stores, Inc.;

and Wells Fargo & Company (collectively the “Defendants”) and alleges as follows.

                                           PARTIES

       1.       Plaintiff LBS Innovations LLC (“LBSI”) is a New Jersey Limited Liability

Company with its principal place of business at 53 Ramapo Mountain Drive, Wanaque, New

Jersey 07465.

       2.       Upon information and belief, Defendant BP America Inc. (“BP”) is a corporation

organized and existing under the laws of the State of Texas, with its principal place of business

located at 501 Westlake Park Boulevard, Houston, Texas 77079. BP may be served with



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process through its registered agent CT Corporation System, 350 N. St. Paul St., Suite 2900,

Dallas, Texas 75201.

       3.      Upon information and belief, Defendant ConocoPhillips dba ConocoPhillips Inc.

(“ConocoPhillips”) is a corporation organized and existing under the laws of the State of Texas,

with its principal place of business located at 600 N. Dairy Ashford St., Houston, Texas 77079.

ConocoPhillips may be served with process through its registered agent CT Corporation System,

1021 Main Street, Suite 1150, Houston, Texas 77002.

       4.      Upon information and belief, Defendant Choice Hotels International, Inc.

(“Choice Hotels”) is a corporation organized and existing under the laws of the State of

Maryland, with its principal place of business located at 10750 Columbia Pike, Silver Spring,

Maryland 20901. Choice Hotels may be served with process through its registered agent United

States Corporation Company, 211 E. 7th Street, Suite 620, Austin, Texas 78701.

       5.      Upon information and belief, Defendant Costco Wholesale Corporation

(“Costco”) is a corporation organized and existing under the laws of the State of Washington,

with its principal place of business located at 999 Lake Dr., Suite 200, Issaquah, Washington

98027-8982. Costco may be served with process through its registered agent CT Corporation

System, 350 N. St. Paul St., Suite 2900, Dallas, Texas 75201.

       6.      Upon information and belief, Defendant Hyatt Corporation (“Hyatt”) is a

corporation organized and existing under the laws of the State of Illinois, with its principal place

of business located at 71 S. Wacker Dr., Suite 1000, Chicago, Illinois 60606. Hyatt may be

served with process through its registered agent United States Corporation Company, 211 E. 7th

Street, Suite 620, Austin, Texas 78701.




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       7.      Upon information and belief, Defendant KeyCorp is a corporation organized and

existing under the laws of the State of Ohio, and Defendant KeyCorp Finance Inc. is a

corporation organized and existing under the laws of the State of Ohio. These Defendants are

collectively referred to herein as “KeyCorp.” Each of the KeyCorp entities has its principal

place of business located at 127 Public SQ, Cleveland, Ohio 44114-1306. Each entity may be

served with process through its registered agent CT Corporation System, 350 N. St. Paul St.,

Suite 2900, Dallas, Texas 75201.

       8.      Upon information and belief, Defendant Marriot International, Inc. (“Marriott”) is

a corporation organized and existing under the laws of the State of Maryland, with its principal

place of business located at 10400 Fernwood Rd., Bethesda, Maryland 20817. Marriott may be

served with process through its registered agent The Prentice-Hall Corporation System, 211

E. 7th Street, Suite 620, Austin, Texas 78701.

       9.      Upon     information     and      belief,   Defendant   McDonald’s      Corporation

(“McDonald’s”) is a corporation organized and existing under the laws of the State of Illinois,

with its principal place of business located at 2111 McDonald’s Dr., Oak Brook, IL 60523.

McDonald’s may be served with process through its registered agent The Prentice-Hall

Corporation System, 211 E. 7th Street, Suite 620, Austin, Texas 78701.

       10.     Upon information and belief, Defendant Aldi Inc. (“Aldi”) is a corporation

organized and existing under the laws of the State of Illinois, with its principal place of business

located at 1200 N. Kirk Road, Batavia, Illinois 60510. Aldi may be served with process through

its registered agent The Corporation Trust Company of Nevada, 311 S. Division Street, Carson

City, Nevada 89703.




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         11.   Upon information and belief, Defendant Bank of America Corporation (“Bank of

America”) is a corporation organized and existing under the laws of the State of North Carolina,

with its principal place of business located at 401 North Tryon Street, NC1-021-02-20 LDG,

Charlotte, North Carolina 28255-0001. Bank of America may be served with process through

its registered agent CT Corporation System, 350 North St. Paul Street, Suite 2900, Dallas, Texas

75201.

         12.   Upon information and belief, Defendant JPMorgan Chase & Co. (“Chase”) is a

corporation organized and existing under the laws of the State of New York, with its principal

place of business located at 1 Chase Manhattan Plaza, Floor 59, New York, New York 10005-

1401. Chase may be served with process through its registered agent CT Corporation System,

350 North St. Paul Street, Suite 2900, Dallas, Texas 75201.

         13.   Upon information and belief, Defendant Giant Eagle, Inc. (“Giant Eagle”) is a

corporation organized and existing under the laws of the State of Pennsylvania, with its principal

place of business located at 101 Kappa Drive, Pittsburgh, Pennsylvania 15238. Giant Eagle may

be served with process through its registered agent David Shapira, 101 Kappa Drive, Pittsburgh,

Pennsylvania 15238.

         14.   Upon information and belief, Defendant H.E.B., Inc. (“H.E.B.”) is a corporation

organized and existing under the laws of the State of Texas, with its principal place of business

located at P.O. Box 839999, San Antonio, Texas 78283-3999. H.E.B. may be served with

process through its registered agent Abel Martinez, 646 South Main Avenue, San Antonio, Texas

78204.

         15.   Upon information and belief, Defendant The Kroger Co. (“Kroger”) is a

corporation organized and existing under the laws of the State of Ohio, with its principal place of




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business located at 1014 Vine Street, Cincinnati, Ohio 45202-1100. Kroger may be served with

process through its registered agent CSC-Lawyers Incorporating Service (Corporation Service

Company), 50 West Broad Street, Suite 1800, Columbus, Ohio 43215.

       16.    Upon information and belief, Defendant Starbucks Corporation d/b/a Starbucks

Coffee Co. (“Starbucks”) is a corporation organized and existing under the laws of the State of

Washington, with its principal place of business located at 2401 Utah Ave South, Seattle,

Washington 98134. Starbucks may be served with process through its registered agent Prentice-

Hall Corporation System Inc., 400 N. St. Paul, Dallas, Texas 75201.

       17.    Upon information and belief, Defendant Target Corporation (“Target”) is a

corporation organized and existing under the laws of the State of Minnesota, with its principal

place of business located at 1000 Nicollet Mall, Minneapolis, Minnesota 55403-2467. Target

may be served with process through its registered agent CT Corporation System, 350 North St.

Paul Street, Suite 2900, Dallas, Texas 75201.

       18.    Upon information and belief, Defendant U.S. Bancorp (“U.S. Bank”) is a

corporation organized and existing under the laws of the State of Minneapolis, with its principal

place of business located at 800 Nicollet Mall, BC-MN-H19U, Minneapolis, Minneapolis

55402-7000.    U.S. Bank may be served with process through its registered agent The

Corporation Trust Company, Corporation Trust Center, 1209 Orange Street, Wilmington,

Delaware 19801.

       19.    Upon information and belief, Defendant Visa Inc. (“Visa”) is a corporation

organized and existing under the laws of the State of California, with its principal place of

business located at 595 Market Street, P.O. Box 8999, San Francisco, California 94128-8999.




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Visa may be served with process through its registered agent CT Corporation System, 818 W.

Seventh Street, Los Angeles, California 90017.

       20.     Upon information and belief, Defendant Wal-Mart Stores, Inc. (“Wal-Mart”) is a

corporation organized and existing under the laws of the State of Arkansas, with its principal

place of business located at 702 Southwest 8th Street, #555, Bentonville, Arkansas 72716-6299.

Wal-Mart may be served with process through its registered agent CT Corporation System, 350

N. St. Paul Street, Suite 2900, Dallas, Texas 75201.

       21.     Upon information and belief, Defendant Wells Fargo & Company (“Wells

Fargo”) is a corporation organized and existing under the laws of the State of California, with its

principal place of business located at 420 Montgomery Street, San Francisco, California 94104.

Wells Fargo may be served with process through its registered agent at 2730 Gateway Oaks

Drive, Suite 100, Sacramento, California 95833.

                                JURISDICTION AND VENUE

       22.     This is an action for patent infringement arising under the patent laws of the

United States of America, Title 35, United States Code.

       23.     This Court has original jurisdiction over the subject matter of this action pursuant

to 28 U.S.C. §§ 1331 and 1338(a).

       24.     Upon information and belief, each of the Defendants is subject to this Court’s

general and/or specific personal jurisdiction because it (a) is a resident of the State of Texas;

and/or (b) has designated an agent for service of process in the State of Texas; and/or (c) has

committed acts of infringement in the State of Texas as alleged below; and/or (d) is engaged in

continuous and systematic activities in the State of Texas. Therefore, this Court has personal




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jurisdiction over each of the Defendants under the Texas long-arm statute, TEX. CIV. PRAC. &

REM. CODE §17.042.

          25.   Venue is proper in this district under 28 U.S.C. §§ 1391(c) and 1400(b). On

information and belief, each Defendant has a regular and established place of business in this

district, and/or has transacted business in this district and has committed and/or induced acts of

patent infringement in this district.

                                        THE PATENT-IN-SUIT

          26.   On July 18, 2000, the United States Patent and Trademark Office issued United

States Patent No. 6,091,956 (the “`956 Patent”) entitled “Situation Information System,” a true

copy of which is attached as Exhibit A.

          27.   LBSI is the owner by assignment of the ‘956 Patent and owns all right, title and

interest in the ‘956 Patent, including the right to sue for and recover all past, present and future

damages for infringement of the ‘956 Patent.

                CLAIM 1 -- INFRINGEMENT OF U.S. PATENT NO. 6,091,956

          28.   Defendant BP has been and now is directly infringing one or more claims of the

‘956 Patent, including Claim 11, in violation of 35 U.S.C. § 271, by making and/or using in the

United States the computer implemented website http://mybpstation.com/ which has a store,

dealer,             or              station           location              interface             at

http://www.bp.com/toolserver/heliospowertool/fuelStationSearch.do?categoryId=5580&contentI

d=0.

          29.   Defendant ConocoPhillips has been and now is directly infringing one or more

claims of the ‘956 Patent, including Claim 11, in violation of 35 U.S.C. § 271, by making and/or

using in the United States the computer implemented website http://www.drivesavvy.com/,




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which         has       a      store,    dealer,     or     station     location     interface       at

http://www.drivesavvy.com/sitelocator/usstorelocator.aspx.

        30.         Defendant Choice Hotels has been and now is directly infringing one or more

claims of the ‘956 Patent, including Claim 11, in violation of 35 U.S.C. § 271, by making and/or

using in the United States the computer implemented website http://www.choicehotels.com/,

and which has a store, dealer, or hotel location interface at http://www.choicehotels.com/, and its

other related sites such as http://www.clarionhotel.com/.

        31.         Defendant Costco has been and now is directly infringing one or more claims of

the ‘956 Patent, including Claim 11, in violation of 35 U.S.C. § 271, by making and/or using in

the United States the computer implemented website www.costco.com, and which has a store or

dealer location interface at http://www.costco.com/warehouse/locator.aspx.

        32.         Defendant Hyatt has been and now is directly infringing one or more claims of the

‘956 Patent, including Claim 11, in violation of 35 U.S.C. § 271, by making and/or using in the

United States the computer implemented website www.hyatt.com, and which has a store, dealer,

or hotel location interface at http://www.hyatt.com/hyatt/features/index.jsp?type=clear, and for

each state in which it is located, for example at http://www.hyatt.com/hyatt/features/hotel-

search-results.jsp?Ntt=Texas,%20USA&_requestid=404810.

        33.         Defendant KeyCorp has been and now is directly infringing one or more claims of

the ‘956 Patent, including Claim 11, in violation of 35 U.S.C. § 271, by making and/or using in

the United States the computer implemented website www.key.com, and which has a store,

dealer, banking center location interface at https://www.key.com/gen/html/bank-branch-atm-

location.html?entity=BRCH&entity=ATM.




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          34.       Defendant Marriott has been and now is directly infringing one or more claims of

the ‘956 Patent, including Claim 11, in violation of 35 U.S.C. § 271, by making and/or using in

the United States the computer implemented website www.marriott.com, which has a store,

dealer,     or       hotel     location   interface     at     http://www.marriott.com/default.mi     and

http://www.marriott.com/search/default.mi.

          35.       Defendant McDonald’s has been and now is directly infringing one or more

claims of the ‘956 Patent, including Claim 11, in violation of 35 U.S.C. § 271, by making and/or

using in the United States the computer implemented website www.mcdonalds.com, which has a

store or dealer location interface at http://www.mcdonalds.com/us/en/restaurant_locator.html.

          36.       Defendant Aldi has been and now is directly infringing one or more claims of the

‘956 Patent, including Claim 11, in violation of 35 U.S.C. § 271, by making and/or using in the

United States the computer implemented website www.aldi.com, which has a store or dealer

location                                               interface                                        at

http://aldi.us/us/html/service/store_locator_ENU_HTML.htm?WT.z_src=main.

          37.       Defendant Bank of America has been and now is directly infringing one or more

claims of the ‘956 Patent, including Claim 11, in violation of 35 U.S.C. § 271, by making and/or

using in the United States the computer implemented website www.bankofamerica.com, which

has             a            store        or          dealer         location        interface          at

http://locators.bankofamerica.com/locator/locator/LocatorAction.do.

          38.       Defendant Chase has been and now is directly infringing one or more claims of

the ‘956 Patent, including Claim 11, in violation of 35 U.S.C. § 271, by making and/or using in

the United States the computer implemented website www.chase.com, which has a store or

dealer location interface at http://locator.chase.com.




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       39.     Defendant Giant Eagle has been and now is directly infringing one or more claims

of the ‘956 Patent, including Claim 11, in violation of 35 U.S.C. § 271, by making and/or using

in the United States the computer implemented website www.gianteagle.com, which has a store

or dealer location interface at http://www.gianteagle.com/StoreLocator/Default.aspx.

       40.     Defendant H.E.B. has been and now is directly infringing one or more claims of

the ‘956 Patent, including Claim 11, in violation of 35 U.S.C. § 271, by making and/or using in

the United States the computer implemented website www.heb.com, which has a store or dealer

location interface at http://www.heb.com/find-a-store/find-a-store.jsp.

       41.     Defendant Kroger has been and now is directly infringing one or more claims of

the ‘956 Patent, including Claim 11, in violation of 35 U.S.C. § 271, by making and/or using in

the United States the computer implemented website www.kroger.com, which has a store or

dealer location interface at http://services.kroger.com/StoreLocator/StoreLocatorAdvanced.aspx.

       42.     Defendant Starbucks has been and now is directly infringing one or more claims

of the ‘956 Patent, including Claim 11, in violation of 35 U.S.C. § 271, by making and/or using

in the United States the computer implemented website www.starbucks.com, which has a store

or dealer location interface at http://www.starbucks.com/store-locator.

       43.     Defendant Target has been and now is directly infringing one or more claims of

the ‘956 Patent, including Claim 11, in violation of 35 U.S.C. § 271, by making and/or using in

the United States the computer implemented website www.target.com, which has a store or

dealer location interface at http://sites.target.com/site/en/spot/page.jsp?title=store_locator_new.

       44.     Defendant U.S. Bank has been and now is directly infringing one or more claims

of the ‘956 Patent, including Claim 11, in violation of 35 U.S.C. § 271, by making and/or using




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in the United States the computer implemented website www.usbank.com, which has a store or

dealer location interface at http://www.usbank.com/locations/.

        45.    Defendant Visa has been and now is directly infringing one or more claims of the

‘956 Patent, including Claim 11, in violation of 35 U.S.C. § 271, by making and/or using in the

United States the computer implemented website www.usa.visa.com, which has a store or dealer

location interface at http://visa.via.infonow.net/usa_atm/.

        46.    Defendant Wal-Mart has been and now is directly infringing one or more claims

of the ‘956 Patent, including Claim 11, in violation of 35 U.S.C. § 271, by making and/or using

in the United States the computer implemented website www.walmart.com, which has a store or

dealer location interface at http://www.walmart.com/storeLocator/ca_storefinder.do.

        47.    Defendant Wells Fargo has been and now is directly infringing one or more

claims of the ‘956 Patent, including Claim 11, in violation of 35 U.S.C. § 271, by making and/or

using in the United States the computer implemented website www.wellsfargo.com, which has a

store or dealer location interface at http://www.wellsfargo.com/locator.

        48.    As a direct and proximate consequence of the acts and practices of the Defendants

in infringing, directly and/or indirectly, one or more claims of the ‘956 patent, LBSI has

suffered, is suffering, and will continue to suffer injury and damages for which it is entitled to

relief under 35 U.S.C. § 284 in an amount to be determined at trial.

        49.    The limitation of damages provision of 35 U.S.C. § 287(a) is not applicable to

LBSI.

        50.    This case presents exceptional circumstances within the meaning of 35 U.S.C.

§ 285 and LBSI is thus entitled to an award of its reasonable attorneys’ fees.




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                                  DEMAND FOR JURY TRIAL

        51.     LBSI, under Rule 38 of the Federal Rules of Civil Procedure, requests a trial by

jury of any issues so triable.

                                    PRAYER FOR RELIEF

        WHEREFORE, LBSI requests entry of judgment that:

        1.      Defendants have infringed the patent-in-suit;

        2.      Defendants account for and pay to Plaintiff all damages caused by their respective

infringement of the patent-in-suit; and

        3.      Plaintiff be granted pre-judgment and post-judgment interest on the damages

caused to it by reason of one or more of Defendants’ patent infringement;

        4.      The Court declare this an exceptional case and that Plaintiff be granted reasonable

attorneys’ fees in accordance with 35 U.S.C. § 285;

        5.      Costs be awarded to Plaintiff; and

        6.      Plaintiff be granted such other and further relief as the Court may deem just and

proper under the circumstances.




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Dated: January 12, 2012                   Respectfully submitted,


                                           BUETHER JOE & CARPENTER, LLC

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                                                ATTORNEYS FOR PLAINTIFF LBS
                                                INNOVATIONS LLC




                              CERTIFICATE OF SERVICE

        The undersigned hereby certifies that all counsel of record who are deemed to have
consented to electronic service are being served with a copy of this document via the Court’s
CM/ECF system per Local Rule CV-5(a) on this 12th day of January, 2012. Any other counsel
of record will be served by facsimile transmission and first class mail.


                                          /s/ Christopher M. Joe
                                          Christopher M. Joe




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